                    IN THE COURT OF APPEALS OF NORTH CAROLINA

                                        2021-NCCOA-583

                                           No. COA20-392

                                     Filed 2 November 2021

     Wake County, No. 19 CVS 7025

     JOSEPH R. BAZNIK, as Personal Representative of the Estate of Alfred Rodriquez
     Inoa, a deceased minor, Plaintiff,

                   v.

     FCA US, LLC, DOZI ULASI, JR., JOSEPH E. HOPKINS, CAROL C. MELNICK,
     TODD WHITAKER, and MILLARD S. WHEELER, Defendants

             Appeal by Defendants from order entered 27 January 2020 by Judge Andrew

     T. Heath in Wake County Superior Court. Heard in the Court of Appeals 28 April

     2021.


             Whitley Law Firm, by Ann C. Ochsner; Abrams &amp; Abrams, P.A., by Douglas B.
             Abrams, Noah B. Abrams, Margaret S. Abrams, and Melissa N. Abrams, for
             Plaintiff-Appellee.

             Attorney General Joshua H. Stein, by Special Deputy Attorney General
             Alexander G. Walton, for Defendants-Appellants.


             WOOD, Judge.


¶1           The sole question upon review is whether the trial court erred in denying

     Defendants’ motions to dismiss. We affirm the order of the trial court.

                                      I.     Background

¶2           On August 5, 2018, Plaintiff’s child Alfred Rodriguez Inoa (“Alfred”), a minor,

     was traveling as a passenger in a 2007 Chrysler 300 (the “Chrysler”) and came upon
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     the intersection of U.S. Highway 401 (Louisburg Road) and Fox Road located in Wake

     County.    Upon reaching an intersection with U.S. Highway 401, eastbound

     passengers on Fox Road are required to cross a total of seven lanes and a median

     divider (the “Intersection”) to continue to travel on the road. In violation of both

     national and state sight distance standards, the northwest corner of the Intersection

     had both manmade and natural objects such that an eastbound driver on Fox Road

     could not see a southbound vehicle approaching on U.S. Highway 401. While driving

     through the Intersection, the Chrysler carrying Alfred was struck by another vehicle

     in the rear driver’s side. Though Alfred survived the initial impact of the collision, a

     defect in the Chrysler’s fuel system caused the fuel to ignite and the Chrysler to

     immediately catch on fire. Alfred was trapped inside the Chrysler during this time

     resulting in severe injuries and ultimately his death.

¶3         On May 28, 2019, Plaintiff brought suit on behalf of Alfred’s estate naming the

     following North Carolina Department of Transportation (“NCDOT”) employees as

     Defendants both individually and in their individual capacities, Carol C. Melnick as

     a Division Traffic Engineer with NCDOT, Todd Whitaker as a Division Sign

     Supervisor with NCDOT, and Millard S. Wheeler as an engineer with NCDOT

     (collectively, the “Defendants”). Plaintiff alleged Defendants all contributed to the

     construction of the Intersection. Defendants each filed a motion to dismiss under

     North Carolina Rules of Civil Procedure Rules 12(b)(1), (2), and (6) “on the grounds
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     of public official immunity and/or qualified immunity, as well as the doctrine of

     sovereign immunity.”       The trial court denied Defendants’ motions under Rules

     12(b)(1), (2), and (6) but did specify the grounds upon which the order is based.

     Defendants immediately appealed to this Court arguing that they are entitled to

     public official immunity and the trial court erred in denying their motions to dismiss.

                                      II.     Discussion

¶4         Defendants argue the trial court erred in denying their motions to dismiss

     pursuant to 12(b)(6) and 12(b)(2). When reviewing a Rule 12(b)(6) motion, this Court

     applies a de novo standard of review. Grich v. Mantelco, LLC, 228 N.C. App. 587,

     589, 746 S.E.2d 316, 318 (2013) (citation omitted). “A motion to dismiss under Rule

     12(b)(6) tests the legal sufficiency of the complaint by presenting ‘the question

     whether, as a matter of law, the allegations of the complaint, treated as true, are

     sufficient to state a claim upon which relief can be granted under some [recognized]

     legal theory.’ ” Isenhour v. Hutto, 350 N.C. 601, 604, 517 S.E.2d 121, 124 (1999)

     (quoting Forsyth Memorial Hosp. v. Armstrong World Indus., 336 N.C. 438, 442, 444

     S.E.2d 423, 425-26 (1994)). A Rule 12(b)(6) motion to dismiss “should not be granted

     ‘unless it appears to a certainty that plaintiff is entitled to no relief under any state

     of facts which could be proved in support of the claim.’ ” Id. 350 N.C. at 604-605, 517

     S.E.2d at 124 (emphasis omitted) (quoting Sutton v. Duke, 277 N.C. 94, 103, 176

     S.E.2d 161, 166 (1970)).
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¶5         A case is dismissed under Rule 12(b)(2) for lack of personal jurisdiction. N.C.

     Gen. Stat. § 1A-1, Rule 12(b)(2) (2021). When a party asserts sovereign immunity,

     “[t]he defense of sovereign immunity is a matter of personal jurisdiction that falls

     under Rule 12(b)(2) . . . .” Rifenburg Constr., Inc. v. Brier Creek Assocs., L.P., 160

     N.C. App. 626, 629, 586 S.E.2d 812, 815 (2003) (citation omitted). A denial of a “Rule

     12(b)(2) motion premised on sovereign immunity constitutes an adverse ruling on

     personal jurisdiction and is therefore immediately appealable . . . .” Parker v. Town

     of Erwin, 243 N.C. App. 84, 95, 776 S.E.2d 710, 720 (2015) (citation omitted). We

     review a Rule 12(b)(2) motion for evidence within the record that would support the

     court’s determination of personal jurisdiction. M Series Rebuild, LLC v. Town of

     Mount Pleasant, 222 N.C. App. 59, 63, 730 S.E.2d 254, 257 (2012).

¶6         In this case, Defendants contend they are entitled to public official immunity

     through their employment with NCDOT. To grant public official immunity, we first

     must determine whether Defendants are public officials or public employees. “When

     a governmental worker is sued individually, or in his or her personal capacity, our

     courts distinguish between public employees and public officers in determining

     negligence liability.” Reid v. Roberts, 112 N.C. App. 222, 224, 435 S.E.2d 116, 119
     (1993) (quoting Hare v. Butler, 99 N.C. App. 693, 699, 394 S.E.2d 231, 236 (1990)).

     Public employees can be held individually liable for mere negligence in the

     performance of their duties while public officials “cannot be held individually liable
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     for damages caused by mere negligence in the performance of their governmental or

     discretionary duties . . . .” Meyer v. Walls, 347 N.C. 97, 112, 489 S.E.2d 880, 888
     (1997). In order to determine whether the Defendants are public officials or public

     employees, we are guided by our Supreme Court in Isenhour v. Hutto,

                  [o]ur courts have recognized several basic distinctions
                  between a public official and a public employee, including:
                  (1) a public office is a position created by the constitution
                  or statutes; (2) a public official exercises a portion of the
                  sovereign power; and (3) a public official exercises
                  discretion, while public employees perform ministerial
                  duties.

     350 N.C. 601, 610, 517 S.E.2d 121, 127 (1999). Whomever is asserting public official

     immunity must show all three factors of the Isenhour test exist. See McCullers v.

     Lewis, 265 N.C. App. 216, 222, 828 S.E.2d 524, 532 (2019); Leonard v. Bell, 254 N.C.

     App. 694, 705, 803 S.E.2d 445, 453 (2017). In addition to this three part test, a public

     official “is generally required to take an oath of office while an agent or employee is

     not required to do so.” Leonard, 254 N.C. App. at 699, 803 S.E.2d at 449 (citation

     omitted). However, an oath of office “is not absolutely necessary” to be considered a

     public official. McCullers, 265 N.C. App. at 223, 828 S.E.2d at 532 (citation and

     internal quotation marks omitted).

¶7         Here, Defendants argue they are public officials because their positions within

     NCDOT were created pursuant to N.C. Gen. Stat. §§ 143B-345, 143B-346, and 136-

     18. We disagree. A person occupies a position created by legislation if the position
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     “ha[s] a clear statutory basis or the officer ha[s] been delegated a statutory duty by a

     person or organization created by statute.” Fraley v. Griffin, 217 N.C. App. 624, 627,

     720 S.E.2d 694, 696 (2011) (citation and internal quotation marks omitted). The first

     cited statute, N.C. Gen. Stat. § 143B-345 is a one sentence statement which operates

     to establish NCDOT as a department within North Carolina. Similarly, N.C. Gen.

     Stat. § 143B-346 functions to provide a brief one paragraph overview of the function

     and purpose of NCDOT. We note that when interpreting a statute “the legislative

     will is the all-important or controlling factor.” Ross Realty Co. v. First Citizens Bank

     &amp; Trust Co., 296 N.C. 366, 368, 250 S.E.2d 271, 273 (1979) (citation omitted). As

     such, “the primary rule of construction of statutes is to ascertain and declare the

     intention of the legislature, and to carry such intention into effect to the fullest

     degree.” Id. 296 N.C. at 369, 250 S.E.2d at 273.

¶8         A review of Section 143B-345 and Section 143B-346 shows both statutes are

     void of any created positions and only speak to NCDOT as an entity in and of itself.

     Thus the texts of N.C. Gen. Stat. § 143B-345 and N.C. Gen. Stat. § 143B-346 illustrate

     a legislative intent to create and guide NCDOT as an entity, not to legislate

     employment positions within NCDOT. In other words, Defendants cannot rely on

     N.C. Gen. Stat. § 143B-345 and N.C. Gen. Stat. § 143B-346 as statutes that clearly

     establish their positions within NCDOT as these statutes do not establish any

     position within NCDOT.
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¶9           Turning to the remaining statute cited by Defendants, N.C. Gen. Stat. § 136-

       18 functions to define and list the powers allotted to NCDOT as a department. The

       existence within a statute of a “statutory definition does not constitute [the] creating

       . . . [of a] position.” Fraley, 217 N.C. App. at 627, 720 S.E.2d at 696. See Farrell v.

       Transylvania Cnty. Bd. of Educ., 199 N.C. App. 173, 177, 682 S.E.2d 224, 228 (2009)

       (holding the defendant’s cited statutes do “not create the position of teacher[,] it

       defines the duty of teacher”). Notably, none of the language of N.C. Gen. Stat. § 136-

       18 establishes a position within NCDOT but refers to NCDOT as an entity in and of

       itself. Again, the lack of creation of a position within Section 136-18 indicates the

       legislature did not intend for Section 136-18 to statutorily create an employment

       position within NCDOT. Overall, none of statutes cited by Defendants operate to

       create positions within NCDOT.

¶ 10          Though N.C. Gen. Stat. § 136-18, N.C. Gen. Stat. § 143B-345, and N.C. Gen.

       Stat. § 143B-346 grant statutory responsibility to NCDOT, these statutes do not in

       turn delegate such statutory authority to employees of NCDOT. Thus, Defendants

       have not established a clear statutory basis for their positions within NCDOT and

       are considered public employees, not public officials.

                                       III.     Conclusion

¶ 11         In summary, because no statute creates the positions held by Defendants

       within NCDOT, Defendants are public employees and, as such, are not entitled to
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public official immunity.    Since the trial court had personal jurisdiction over

Defendants and Plaintiff sufficiently stated a claim upon which relief can be granted,

we affirm the trail court’s denial of Defendants’ motions pursuant to North Carolina

Rules of Civil Procedure Rules 12(b)(2) and (6).

      AFFIRMED.

      Judges DILLON and ARROWOOD concur.
